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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                :
CHRISTY REHM; DEBORAH FENIMORE             :
AND JOEL LIEB; STEVEN STOUGH;              :
BETH EVELAND; CYNTHIA SNEATH;              :
JULIE SMITH; AND ARALENE                   :
("BARRIE") D. AND FREDERICK B.             :
CALLAHAN,                                  :
                                           :     CIVIL ACTION
                             Plaintiffs    :
                                           :
                   vs.                     :     No. 4:04-cv-2688
                                           :
DOVER AREA SCHOOL DISTRICT;                :     (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT                 :
BOARD OF DIRECTORS,                        :
                                           :     (Filed Electronically)
                           Defendants      :



    PLAINTIFFS’ MOTION TO STRIKE “BRIEF OF AMICI CURIAE
              BIOLOGISTS AND OTHER SCIENTISTS
               IN SUPPORT OF DEFENDANTS” AND
     “BRIEF OF AMICUS CURIAE, THE DISCOVERY INSTITUTE”
     Without so much as a “by your leave,” David DeWolf — a senior fellow at

the Discovery Institute’s Center for Science and Culture — has now filed two
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amicus briefs on behalf of Stephen C. Meyer and his fellow Discovery Institute

denizens. But while the procedural irregularity of DeWolf’s method for delivering

Meyer’s missives would alone raise a judicial eyebrow, there is also a deeper

impropriety that warrants striking both filings: The briefs constitute Meyer’s third

and fourth attempts to serve up his and William Dembski putative expert opinions

without opening themselves to the scrutiny of cross-examination. Nothing in the

Federal Rules of Civil Procedure supports allowing Meyer or Dembski to testify on

their own terms when they were unwilling to do so under the terms established by

the Federal Rules of Evidence. Fundamental fairness requires that they be denied

the opportunity to do so. Thus, the Court should strike the briefs.

                                   ARGUMENT

      On October 3, 2005, Mr. DeWolf lodged a paper that he styled as a Brief of

Amicus Curiae Biologists and Other Scientists in Support of Defendants. (The

listed amici are a group of scientists and non-scientists, virtually all of whom are

affiliated with the Discovery Institute or have signed on to its statement sometimes

entitled “dissent from Darwin.” On October 17, Mr. DeWolf lodged a second

paper, styling this one as a brief of the Discovery Institute itself. As this Court has

already recognized with respect to the October 3 effort, however, both briefs are

procedurally irregular.    But more fundamentally, the first is an improper ad

hominem attack on a witness in the case; and both are illegitimate attempts to give



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the Discovery Institute’s Stephen Meyer and William Dembski a free pass on

offering expert testimony without cross-examination.           They should not be

accepted.

      1.     Although this Court’s Rules do not specifically contemplate or outline

procedures for filing amicus briefs, plaintiffs recognize that the district courts have

inherent authority to allow amici to participate in proceedings under appropriate

circumstances. See Waste Mgmt. v. City of York, 162 F.R.D. 34 (M.D. Pa. 1995).

But Rule 29 of the Federal Rules of Appellate Procedure and Supreme Court Rule

37, for example, both require the parties’ consent or leave of court to file an amicus

brief, thus ensuring that would-be amici properly identify themselves, demonstrate

an appropriate interest in the litigation, offer something useful to the court, and

give the parties an opportunity to respond to their arguments.           Those same

concerns are appropriate to this Court’s determination whether to accept the briefs.

      2.     Here, neither DeWolf nor his clients sought the parties’ consent. Nor

did they file a motion seeking the Court’s leave to file. Instead, the amici simply

dropped their missives on the Court’s and the parties’ electronic doorstep,

apparently employing the logic that if you don’t ask permission, you can’t be told

“no.” But that does not mean the Court should ignore the gate-keeping function

appropriate to the determination whether to allow amicus participation. And had




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they sought consent or leave to file, the amici would have had to reveal facts that

would have shown why the filings here are singularly improper.

      3.     First, although there are no strict rules regarding the contents of

amicus briefs, Supreme Court Rule 37.1 strongly suggests that a proper amicus

brief brings to the Court’s attention only (i) relevant matter that (ii) has not been

presented by the parties and (iii) would be helpful to the Court in deciding the case.

S. Ct. Rule 37.1. Amicus briefs that depart from that model “burden[]” the Court,

and their filing is therefore generally disfavored. Id. The district courts, moreover,

apply similar criteria in deciding whether to accept amicus briefs.          See, e.g.,

Avellino v. Herron, 991 F. Supp. 730, 732 (E.D. Pa. 1998) (district court “may”

grant leave to appear as amicus curiae if information offered is “timely and

useful”); Waste Management, 162 F.R.D. at 36 (same). More particularly, they

consider, among other things, whether a would-be amicus’s asserted interest in the

case is inadequately represented by the parties such that the amicus has something

to add; whether the amicus’s perspective would be helpful; and whether the amicus

makes policy arguments or otherwise presents material that is better suited to

appellate review than to adjudication of the case in the trial court. See, e.g., Sciotto

v. Marple Newtown Sch. Dist., 70 F. Supp. 2d 553, 554-56 (E.D. Pa. 1999); United

States v. Gotti, 755 F. Supp. 1159 (E.D.N.Y. 1991).




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      While plaintiffs recognize that proper amicus briefs may be helpful to the

Court in this case, and as a rule do not oppose such briefs if offered, on every score

Mr. DeWolf’s filings come up short.

      4.     Rather than making legal arguments or otherwise offering insights

into the legal issues presented, Mr. DeWolf’s October 3 effort in large measure

consists of ad hominem attacks on plaintiffs’ expert Dr. Barbara Forrest. See Oct.

3 Amicus Brief, at 12-18. Indeed, that diatribe was filed with apparent deliberation

on the eve of Dr. Forrest’s testimony — when such a broadside might be most

likely to distort the Court’s perceptions of Dr. Forrest’s qualifications.

      Although certainly disturbing, the assault on Dr. Forrest is perhaps

unsurprising. Although the October 3 brief was signed by a number of individuals,

its signatories are associated with the Discovery Institute and its Center for Science

and Culture. Indeed, notable on the list — for reasons explained below — is

Discovery Institute vice president and Center for Science and Culture program-

director Stephen Meyer. And because Dr. Forrest used the Discovery Institute’s

and its fellows’ own words to indict them as having engaged in a deliberate plan to

promote an unconstitutional religious agenda under the rubric of “intelligent

design,” it is no wonder that they sought to discredit her, while obscuring the

Discovery Institute’s role by filing only in the names of the individuals.




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      Even though the Court will not be deceived by the improper attacks on Dr.

Forrest, it should not let them become part of the record.

      5.     But the assault on Dr. Forrest is only the tip of the iceberg: Two

weeks after lodging the first brief, Mr. DeWolf submitted another one, this time in

the name of the Discovery Institute rather than its individual adherents. But the

amici’s decision this time to file in the name of the Discovery Institute was not the

act of new-found candor that at first blush it may seem. For that tactic served a

new purpose: It elided the fact that Mr. Meyer — as director of the Discovery

Institute’s Center for Science and Culture — is the real voice speaking through

both briefs. And Mr. Meyer’s dual role highlights an even more serious problem:

The two submissions are, respectively, the third and fourth attempts by Mr. Meyer

to interject his own views, and those of his Discovery Institute-colleague William

Dembski, into these proceedings without subjecting those views to the rigors of

cross-examination.

      In that regard, this Court is well aware that Meyer and Dembski were

originally offered as defense experts; that they subsequently withdrew, thus

avoiding cross-examination in accordance with the normal discovery procedures

and rules of evidence applicable to expert witnesses; and that they later attempted

to re-enter this case on what they apparently regarded as more favorable terms

under the auspices of the motion to intervene filed by Pandas’s publisher, the



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Foundation for Thought and Ethics. Meyer and Dembski now seek new avenues to

interject their views.

      More concretely, the October 3 brief, in addition to aiming ad hominem

attacks at Dr. Forrest, simply summarizes Meyer’s and Dembski’s withdrawn

expert opinions. And the October 17 brief goes even further: It recapitulates

Meyer’s and Dembski’s assertions in painstaking detail; it straightforwardly

acknowledges that it “relies upon many parts of Dr. Meyer’s [withdrawn expert]

report and will direct the Court to other pertinent sections” of that report (October

17 Br. at 8-9); and it attaches that report as an exhibit. Through the October 17

brief, in other words, not only do Meyer and Dembski seek yet again to introduce

the expert opinions that they themselves withdrew, without affording plaintiffs any

opportunity to challenge them or their views, but Meyer asks the Court to expand

the record to include his expert report, which would have been inadmissible

hearsay even if Meyer had not backed out of the case.

      Having properly rejected Meyer’s and Dembski’s efforts to deflect

plaintiffs’ right to cross-examine them (by distancing themselves from defendants

while offering the same “expert” opinions from FTE), this Court should decline to

allow them to reassert their views as amici and more perfectly insulate themselves

from the rigors of cross-examination.




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                                  CONCLUSION

      Plaintiffs repeat that they believe proper amicus briefs will be helpful to the

Court and welcome them regardless of the parties they support. But even aside

from the procedural irregularities attendant with the filing of the amicus briefs that

are the subject of this motion, the briefs themselves are highly improper. The

Court should not countenance the ad hominem attacks on Dr. Forrest or make them

part of the record. And for essentially the same reasons that this Court rejected

Meyer’s and Dembski’s attempts to participate in this case on their own distorted

terms through FTE, so too should it reject their renewed attempts to do so in the

guise of amici. Having declined to play by the rules applicable to expert witnesses,

principles of fundamental fairness require that Meyer and Dembski now sit on the

sidelines while others carry the ball for the defendants. The putative amicus briefs

should be stricken.

                                       Respectfully submitted,

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Dated: October 18, 2005           Attorneys for Plaintiffs

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                      CERTIFICATE OF SERVICE

      I hereby certify that on October 18, 2005, I caused a copy of the
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